       Case 1:25-cv-00596-ELH          Document 103        Filed 04/03/25      Page 1 of 3



                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND
                                NORTHERN DIVISION

AMERICAN FEDERATION OF STATE,
COUNTY AND MUNICIPAL EMPLOYEES,
AFL-CIO, et al.,

                      Plaintiffs,

                          vs.
                                                       Civil Action No. 1:25-cv-00596
SOCIAL SECURITY ADMINISTRATION,
et al.,

                     Defendants.


                     AGREED MOTION FOR EXTENSION OF TIME

       In light of tomorrow’s in-person hearing, Plaintiffs respectfully request an extension of the

deadline to file their Motion for Preliminary Injunction from 2:00 p.m. to 6:00 p.m. the same day.

Defendants agree to Plaintiffs’ proposal of the same, which includes agreement to extend

Defendants’ deadline to file their response in opposition to the Motion for Preliminary Injunction

from 10:00 a.m. next Monday to 6:00 p.m. on the same day.




Signatures follow on next page.
     Case 1:25-cv-00596-ELH   Document 103     Filed 04/03/25       Page 2 of 3




*M9LR= "KG57!T.!>@>?                     %LJKL89EN77O!JNUF599LR.!

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                                     >
       Case 1:25-cv-00596-ELH         Document 103        Filed 04/03/25     Page 3 of 3



                               CERTIFICATE OF SERVICE

    I, Alethea Anne Swift, certify that I filed the foregoing document with the Clerk of Court for

the United States District Court for the District of Maryland, Northern Division, by using the

CM/ECF system, which sent a notice of such filing to all registered CM/ECF users who have

appeared in this case.


                                                              /s/ Alethea Anne Swift
                                                              Counsel for Plaintiffs
